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7                        UNITED STATES DISTRICT COURT
8                      CENTRAL DISTRICT OF CALIFORNIA

9    NASRIN SHAPOURI,                     Case No: 2:15-cv-03682-ODW-ASx
10                   Plaintiff,            ORDER RE DISMISSAL OF THE
                                           ENTIRE ACTION WITH
                                           PREJUDICE [25] [27]
11        v.
12   FRANKLIN COLLECTION
     SERVICE, INC.; BAY AREA CREDIT
13   SERVICE;
14                   Defendants.
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1          Upon stipulation jointly made by Plaintiff NASRIN SHAPOURI and Defendant
     FRANKLIN COLLECTION SEVICE, INC., the only remaining parties appearing in
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     this action, by and through their counsel of record, and good cause appearing therefore
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     (ECF No. 25, 27):
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           IT IS HEREBY ORDERED that:
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           1.    Pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii), the
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                 entire action and all claims asserted therein are hereby DISMISSED WITH
7                PREJUDICE; and
           2.    All dates and deadlines in this action are vacated and taken off calendar.
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           IT IS SO ORDERED.
10         November 17, 2015

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                                                    OTIS D. WRIGHT, II
13                                          UNITED STATES DISTRICT JUDGE

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